4718 6:48AM

LR ec aee

 

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF CALIFORNIA

   

Case number (if known} Chapter you are filing under:
C1 Chapter 7
[] Chapter 11
C1 Chapter 12

2 Chapter 13

 

 

 

Official Form 101
Voluntary Petition for individuals Filing for Bankruptcy 12415

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone, A married coupie may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed aboul the spouses separately, the form uses Debtor 1 and Debtor 2 to
distinguish between them. In joint cases, one of the spouses must report information as Debtor 7 and the other as Debtor 2. The same person must be
Debtor 1 in ail of the forms.

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct information. If

more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.

F) Identify Yourself

 

 

 
 

About Debtort: About Debtor 2 (Spouse Only in a Joint Case):
1. Your full name _ : CP

Write the name thatison Felix

 

 

 

 

 

 

your government-issued First name First name

picture identification (for

example, your driver's Carlos

license or passport). Middle name .'~ Middle name

Bring your picture - Pp.

wig at erez

identification to your - =

meeting with the trustee. Last name and Suffix (Sr., Jr., Il, Ill) "Last name and Sufix (Sr., Jr, 1B, 15

 

2. All other names you have
used in the last 8 years

Include your married or
maiden names.

 

3. Only the last 4 digits of
your Social Security
number or federal XXX KK-8522
Individual Taxpayer
Identification number
(ITIN)

 

Case: 19-50897 Doc#1 Filed: 05/01/19 Entered: 05/01/19 09:18:54 Page 1 of 47

OfficiaFForm j01 Voluntary Petition for Individuals Filing far Bankruptcy page 1
Debtor! Felix Carlos Perez

4. Any business names and
Employer Identification
Numbers (EIN) you have
used in the iast 8 years

Include trade names and
doing business as names

About Debtor 1: arene cs .

EB | have not used any business name or EINs.

AN7AG 6:48AM

Case number (if known)

 

-/ About Debtor 2 (Spouse Only in a Joint Case):

“1 | have not used any business name or EINs.

 

Business name{s)

 

|. Business name(s)

 

EINs

 

~EINs

 

5. Where you live

1372 Woodman Court
San Jose, CA 95121

if Debtor 2 lives at a different address:

 

Number, Street, City, State & ZIP Code

Santa Clara

~~ Number, Street, City, State & ZIP Code

 

County

if your mailing address is different from the one
above, fill it in here. Note that the court will send any
notices to you at this mailing address.

ms, - County

if Debtor 2's mailing address is different from yours, fill it
in here. Note that the court will send any notices to this

-. mailing address.

 

Number, P.O. Box, Street, City, State & ZIP Code

 

Number, P.O. Box, Street, City, State & ZIP Cade

 

6. Why you are choosing
this district to file for
bankruptcy

Check one:

Ever the last 180 days before filing this
petition, | have lived in this district longer than
in any other district.

[ | have another reason.
Explain. (See 28 U.S.C. § 1408.)

=<. Cheek one:

~. 1 Over the last 180 days before filing this petition, |

have lived in this district longer than in any other
district.

“: [1 | have another reason.

Explain. (See 28 U.S.C. § 1408.)

 

 

 

Case: 19-50897 Doc#1 Filed: 05/01/19 Entered: 05/01/19 09:18:54 Page 2 of 47

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptey

page 2
44713 6:48AM

Debtor1 Felix Carlos Perez Case number {if known)

 

| Tell the Court About Your Bankruptcy Case

 

 

7. The chapter of the Gheck one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342/b) for individuals Filing for Bankruptcy
Bankruptcy Code you are (Form 2070)). Also, go to the top of page 1 and check the appropriate box.
choosing to file under
CO Chapter 7

O Chapter 41
O Chapter 12
Ei Chapter 13

 

8. How you will payihe fee O | will pay the entire fee when | tile my petition. Please check with the clerk's office in your local court for more details
about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's check, or money
order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
a pre-printed address.

fs! need to pay the fee in installmenis. {f you choose this option, sign and attach the Application for Individuals to Pay
The Filing Fee in Instaliments (Official Form 103A).

| request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
but is not required to, waive your fee, and may do sc only if your income is less than 150% of the official poverty line
that applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill
out the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

 

 

 

 

 

 

 

 

 

 

9. Have you filed for C1 No.
bankruptcy within the
last 8 years? FA Yes.
Northern Disirict of
California--San Jose
District Division When 2/05/19 Case number 19-50242
Northern District of
California--San Jose
District Division When 5/01/18 Case number 18-51005
District See Attachment When Case number
10. Are any bankrupicy No
cases pending or being
filed byaspouse whois [£1 Yes.
not filing this case with
you, or by a business
partner, or by an
affiliate?
Debtor Relationship to you
District When Case number, if known
Debtor Relationship to you
District When Case number, if known
11. Bo you rent your fl No Go to line 12.
residence? ‘
T] Yes. Has your landlord obtained an eviction judgment against you and do you want to stay in your residence?

oO No. Go to line 12.

Ci Yes. Fill out nitial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
bankruptcy petition.

 

Case: 19-50897 Doc#i1 Filed: 05/01/19 Entered: 05/01/19 09:18:54 Page 3 of 47
Official Form #01 Voluntary Petition for Individuals Filing for Bankruptcy page 3
S79 5:48AM

Debtor? Felix Carlos Perez Case number (if known)

 

 
 

= Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
of any full- or part-time EB No. Go io Part 4.
business?

Ol Yes. Name and location of business

A sole proprietorship is a

business you operate as Name of business, if any

an individual, and is nota

separaie legal entity such

as a corporation,

partnership, or LLC.

If you have more than one Number, Street, City, State & ZIP Gode

sole proprietorship, use a

separate sheet and attach

it to this petition. Check the appropriate box to describe your business:

 

 

 

oO Health Gare Business (as defined in 11 U.S.C. § 101(27A))
GB Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
CO Stockbroker (as defined in 11 U.S.C. § 101(53A))
| Commodity Broker (as defined in 11 U.S.C. § 101(6))
oO None of the above
13. Are you filing under if you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
Chapter 11 of the deadlines. lf you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
Bankruptcy Code and are operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
you a small business in 11 U.S.C. 1116(1}(B).
debior?
EI No | am not filing under Chapter 11.
For a definition of smaif , .
business debtor, see 11 CONo. | am filing under Chapter 11, out | am NOT a small business debtor according to the definition in the Bankruptcy
U.S.C. § 101(51D). Code
OQ Yes. | am filing under Chapter 11 and! am a small business debtor according to the definition in the Bankruptcy Code.

 

ae | Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

 

14. Do you own orhave any — BB pio,
property that poses or is
alleged to pose athreat 1 Yes.
of imminent and What is the hazard?

 

identifiable hazard to

public health or safety?

Or do you own any ; ; .
property that needs If immediate attention is
immediate attention? needed, why is it needed?

 

For example, do you own

perishable goods, or

livestock that must be fed, Where is the property?
or a building that needs

urgent repairs?

 

Number, Street, City, State & Zip Code

 

Case: 19-50897 Doc#1 Filed: 05/01/19 Entered: 05/01/19 09:18:54 Page 4 of 47
Official Farm 1014 Voluntary Petition for Individuais Filing for Bankrupicy page 4
Felix Carlos Perez

 

Debtor 1

   

4979 6:48AM

Case number (# known}

 

 

15. Teli the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about
credit counseling before
you file for bankruptcy.
You must truthfully check
one of the foilowing
choices. If you cannot do
$0, you are not eligible to
file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your
creditors can begin
collection activities again.

: | Explain Your Efforts to Receive a Briefing About Credit Counseling
About Debtor 1: ; “ a
You must check one:

Oo

| received a briefing from an approved credit Soo
counseling agency within the 180 days before| —..:.
filed this bankruptcy petition, and | received a

certificate of compietion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

| received a briefing from an approved credit ~
counseling agency within the 180 days before |

filed this bankrupicy petition, bui | do not have

a certificate of compietion.

Within 14 days after you file this bankruptcy
petition, you MUST file a copy of the certificate and
paymeni plan, if any.

I certify that | asked for credit counseling 2
services from an approved agency, but was

unable to obiain those services during the 7

days after | made my request, and exigent
circumstances merit a 30-day temporary waiver

of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted

only for cause and is limited to a maximum of 15

days. :

lam not required io receive a briefing about . 0
credit counseling because of: =

| have a mental illness or a
mental deficiency that makes
me incapable of realizing or
making rational decisions
about finances.

O1_~sIncapacity.

1 __=sODisability. My physical disability causes
me to be unable to participate
in a briefing in person, by
phone, or through the
internet, even after |
reasonably tried to do so.

O Activeduiy. | am currently on active
military duty in a military
combat zone.

if you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the
court.

“About Debtor 2 (Spouse Only ina Joint Case):
~ You must check one:

L received a briefing from an approved credit
counseling agency within the 180 days before j filed
this bankruptcy petition, and | received a certificate of
completion.

Attach a copy of ihe certificate and the payment plan, if
any, that you developed with the agency.

| received a briefing from an approved credit
counseling agency within the 180 days before I filed
this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition, you
MUST file a copy of the certificate and payment plan, if
any.

I certify that | asked for credit counseling services
from an approved agency, but was unable to obtain
those services during the 7 days after | made my
request, and exigent circumstances merit a 30-day
temporary waiver of the requirement.

To ask for a 30-day temporary waiver of the requirement,
attach a separate sheet explaining what efforts you made
to obtain the briefing, why you were unable to obtain it
defore you filed for bankruptcy, and what exigent
circumstances required you to file this case.

Your case may be dismissed if the court is dissatisfied
with your reasons for not receiving a briefing before you
filed for bankruptey.

If the court is satisfied with your reasons, you must still
receive a briefing within 30 days after you file. You must
file a certificate from the approved agency, along with a
copy of the payment plan you developed, if any. If you do
not do so, your case may be dismissed.

Any extension of the 30-day deadline is granted only for
cause and is limited to a maximum of 15 days.

1am not required to receive a briefing about credit
counseling because of:

O01 Incapacity. | have a mental illness or a mental
deficiency that makes me incapable
of realizing or making rational
decisions about finances.

C1 Disability. My physical disability causes me to

be unable to participate in a briefing
in person, by phone, or through the
internet, even after | reasonably tried
to do so.

Cl Active duty. | am currently on active military duty

in a military combat zone.

lf you believe you are not required to receive a briefing
about credit counseling, you must fife a motion for waiver
of credit counseling with the court.

 

Case: 19-50897 Doc#1 Filed: 05/01/19 Entered: 05/01/19 09:18:54 Page 5 of 47

Official Form 401

Voluntary Petition for Individuals Filing for Bankruptcy

page 5
Debtor1 Felix Carlos Perez

MI7ND G:4BAM

Case number (if known)

 

 

 

Answer These Questions for Reporting Purposes

 

16. Whaikind of debts do 16a.

Are your debis primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an

 

 

 

 

 

you have? individual primarily for a personal, family, or househoid purpose.”
CI No. Go to line 16b.
Yes. Go to line 17.
18b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.
Ci No. Go to line 16¢.
0 Yes. Go to line 17.
16c. State the type of debts you owe that are not consumer debts or business debts
17. Are you filing under No. _ ‘| amnot filing under Chapter 7. Go to line 18.
Chapier 7? .
Do you estimate that O Yes. |! am filing under Chapter 7. Do you estimate that after any exempt property is exciuded and administrative
after any exempt expenses are paid that funds will be available to distribute to unsecured creditors?
property is excluded and
administrative expenses C1 Noe
are paid that funds will
be available for CO Yes
distribution io unsecured
creditors?
18. How many Creditorsdo = gj j_49 C 1,000-5,000 EF 25,001 -50,000
you estimate that you 71.59.99 [2 5001-10,000 C1 50,001-100,000
owe: CD 100-199 11 10,001-25,000 C More than100,000
CF 200-999
19. How much do you C1 so - $50,000 [1 $1,000,001 - $40 million C1 $500,000,001 - $1 billion
pstmay your assets to — T] $50,001 - $100,000 C1 $10,000,001 - $50 million 1 $1,000,000,001 - $10 bition
. 1 $100,001 - $500,060 C4 $50,000,001 - $100 milion Ci $10,000,000,001 - $50 billion
E $500,001 - $1 million C2 $100,600,001 - $500 million 0 More than $50 billion
20. How much do you DO $0 - $50,000 2 $500,000,001 - $1 billion

E $1,000,001 - $10 million

estimate your liabilities

to be? CO] $50,001 - $100,000

0 $100,001 - $500,000
[] $500,001 - $1 million

[J $1,000,000,001 - $10 billion
Ci $10,000,060,001 - $50 billion
Ci More than $50 billion

CF $10,000,001 - $50 million
M $50,000,001 - $100 million
C) $100,000,001 - $500 million

 

  

: Sign Below
| have examined this petition, and | declare under penalty of perjury that the information provided is true and correct.

If | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 3 of title 114,
United States Code. i understand the reiief available under each chapter, and | choose to proceed under Chapter 7.

If no attorney represents me and | did not pay or agree to pay somecne who is not an attorney to help me fill out this
cocumeni, | have obtained and read the notice required by 11 U.S.C. § 342{b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
, concealiag

| understand making a false stateme
7 po to $250,6

bank an CL
"TH19, 571. a” re \/

Felfx Carlos Perez
Signature of Debtor 1

rdperty, or obtaining money or property by fraud in connection with a
or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1344,

   
   

   

Signature of Debtor 2

Executedon April 17, 2019
MM /DD/YYYY

Executed on

 

MM /DD/YYYY

 

Case: 19-50897 Doc#1 Filed: 05/01/19 Entered: 05/01/19 09:18:54 Page 6 of 47

Official Form 101 Voluntary Petition for Individuais Filing for Bankruptcy page 6
47419 6:48AM

 

 

 

Debtor 1 Felix Carlos Perez Gase number fit known)
For your attorney, if you are |, the attomey for the debtor(s) named in this petition, declare that | have informed the debtor(s) about eligibility to proceed
represented by one under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter

for which the person is eligible. | also certify that | have delivered to the debtor{s) the notice required by 11 U.S.C. §
lf you are noi represented by 342(b) and, in a case in which § 707(b}(4)(B) applies, certify that | have no knowledge after an inquiry that the information
an attorney, you do not need in the schedules filed with the petition is incorrect.
io file this page.
Date April 17, 2019

 

 

Signature of Attorney for Debtor MM / DD / YYYY

 

Printed name

 

Firm name

 

Number, Street, City, State & ZIP Code

Contact phone Email address

 

 

 

Bar number & State

 

Case: 19-50897 Doc#1 Filed: 05/01/19 Entered: 05/01/19 09:18:54 Page 7 of 47
Official Form 101 Voluntary Petition for Individuals Filing for Bankruptey page 7
Debtor! Felix Carlos Perez

47A9 G4BAM

Case number (if known}

 

 

Fer you if you are filing this
bankruptey without an
attorney

if you are represented by an
atiorney, you do not need to
file this page.

 

The law allows you, as an individual, to represent yourself in bankrupicy court, but you should understand that many
people find it extremely difficult to represent themselves successfully, Because bankruptcy has long-term
financial and legal consequences, you are strongly urged to hire a qualified atiorney.

To be successful, you must correctly file and handle your bankruptcy case. The rules are very technical, and a mistake or
inaction may atfect your rights. For example, your case may be dismissed because you did not file a required document,
pay a fee on time, attend a meeting or hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy
administrator, or audit firm if your case is selected for audit. Hf that happens, you could lose your right to file another case,
of you may iose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the court. Even if you plan to
pay a particular debt outside of your bankruptey, you must list that debt in your schedules. If you do not list a debt, the
debi may not be discharged. If you do not list property or properly claim it as exempt, you may not be able to keep the
property. The judge can also deny you a discharge of all your debts if you do something dishonest in your bankrupicy
case, such as destroying or hiding property, falsifying records, or lying. individual bankruptcy cases are randomly audited

to determine if debtors have been accurate, truthful, and complete. Bankruptcy fraud is a serious crime; you could be
fined and imprisoned.

If you decide to file without an attorney, the court expects you to follow the rules as if you had hired an attorney. The court
will not treat you differently because you are filing for yourself. To be successful, you must be familiar with the United
States Bankruptey Code, the Federal Rules of Bankruptcy Procedure, and the local rules of the court in which your case is
filed. You must also be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal consequences?

Cl No
2 Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are inaccurate or incomplete, you
could be fined or imprisoned?

ONs
# Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?

CO No
E Yes Name of Person
Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Farm 119).

at | eng risks involved in filing without an attorney. | have read and understood

 

  
  
  

By signing here, | acknowledge t

this notice

 

     

ig a bank{uptcy case without an attorney May cause me io lose my rights or property if | do

 

 

 

 

 

 

 

Felix Carlos Perez Signature of Debtor 2
Signature of Debtor 1
Date Apvril 17, 2019 Date

MM/ DD /¥Y¥Y¥ MM/DD/YYYY
Contact phone (408) 960-8430 Contact phone
Cell phone (408) 960-8430 Cell phone
Email address fecape25@hotmall.com . Email address

 

 

 

: iled: : 1/19 09:18:54 Page 8 of 47
Official Forn-w@PC. 19-50897 DOCK trary LEG: 05/01/19 Entered: 05/01/ g

ry Petition for Individuals Filing for Bankruptey pane &
4/1749 6:48AM

Debter1 Felix Carlos Perez Gase number (if known)

 

intormation to identify your case:

Debtor 1 Felix Carlos Perez
First Name Middle Name Last Name

Debtor 2
(Spouse if, filing) First Name Middie Name Last Name

 

United States Bankruptcy Court forthe: NORTHERN DISTRICT OF CALIFORNIA

 

 

Case number
{if known)

 

( Check if this is an
amended filing

 

FORM 101. VOLUNTARY PETITION

Prior Bankruptcy Cases Filed Attachment

District Case Nuraber Date Filed
Northern District of California--San Jose Division 49-50242 2/05/19
Northern District of California--San Jose Division 18-51005 5/01/18
Northern District of Catifornia--San Jose Division 47-52613 10/26/17
Northern District of California--San Jose Division 16-53125 41/01/16
Northern District of California--San Jose Division 16-52070 TAB/AM16
Northern District of California--San Jose Division 15-53823 12/02/15

Case: 19-50897 Doc#1 Filed: 05/01/19 Entered: 05/01/19 09:18:54 Page 9 of 47

Official Form 104 Voluntary Petition for Individuals Filing for Bankruptcy page 9
478 6:48AM

Debtor1 Felix Carlos Perez Case number (if known)

 

RUC oR ACen A Ns toe

Debtor 1 Felix Carlos Perez

 

 

 

First Name Middle Name Last Name
Debtor 2
| (Spouse if, filing} First Name Middie Name Last Name

United States Bankruptcy Court for the: NORTHERN DISTRICT OF CALIFORNIA

 

Case number _
{if known)

 

1 Gheck if this is an
amended filing

FORM 101. VOLUNTARY PETITION ATTACHMENT
Request for a 30-day temporary waiver of the requirement to file a certificate of completion
of credit counseling.

| certify that | asked for credit counseling services from an approved agency, but was unable to obtain those services during the 7 days after |
made my request, and exigent circumstances merit a 30-day temporary waiver of the requirement.

Explanation of efforts Debtor 1 made to obtain the briefing, why Debtor 1 was unable to obtain it before Debtor 1 filed for bankruptcy, and what
exigent circumstances required Debtor 1 to file this case:

impending foreclosure

Case: 19-50897 Doc#1 Filed: 05/01/19 Entered: 05/01/19 09:18:54 Page 10 of 47

Official Form 1014 Voluntary Petition for Individuals Filing for Bankrupicy page 10
407/19 6:48AM

Cease ee

 

 

 

Debtor 1 Felix Carlos Perez

First Name Middle Name Last Name
Debtor 2
(Spouse if, filing} First Name Middle Name Last Name

United States Bankruptcy Court forthe: NORTHERN DISTRICT OF CALIFORNIA

 

Case number
(if known) f Gheck if this is an
amended filing

 

 

Official Form 106Sum

Summary of Your Assets and Liabilities and Certain Statistical Information 12/15

Be as complete and accurate as possible. If two married pecple are filing together, both are equally responsibie for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 

E Summarize Your Asseis

 

  

‘Your assets

Malue.of what:
1. Schedule 4/B: Property (Official Form 106A/B)
1a. Copy fine 55, Total real estate, from Schedule A/Buo.cecssceccscccccsesscesceceeseesecessessesessessesevsrsusessessrsesssseasseeessesseasees $ 752,140.00
1b, Copy line 62, Total personal property, from Schedule AVB......ccccsccccsceec ccc ceesececeescceceeceeeeeseesesseeceueusavevausivevanansts $ 18,849.09
ic. Copy line 63, Total of all property on Schedule A/Bo oo... ccececeesssesessessesssacseesecsseesenessecsensescecsesessanscscenenseavernete $ 770,989.09

= Summarize Your Liabilities

 

 

2.  Sehedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)

 

2a. Copy the total you listed in Golumn A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D... $ 1,099,588.46
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F) 0.00
3a. Copy the total claims from Part 4 (priority unsecured claims) from fine Ge of Schedule E/F... cesses $ . "
3b. Copy the total claims from Part 2 (nonpriotity unsecured claims) from line 6f of Schedule E/F...........ccecersieeee $ 9,726.85
Your total liabilities | $ 1,109,315.31_

 

 

 

 

_ Summarize Your Income and Expenses

4. Schedule f: Your income (Official Form 1061}
Copy your combined monthly income from line 12 Of SChedute toa... ceccsesesssssesssesvsnsssearscsescssenesecessecsssnessseeereassssees $ 5,014.99

5. Schedule J: Your Expenses (Official Form 106J}
Copy your monthly expenses from line 220 of SCHECUIG Jo. eo. eceecececeevstsscessssesssssseecsesecececeseceseceernenensesevars $ 1,727.00

 

& Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
O No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

Yes
7. What kind of debt do you have?

f Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

1] Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
the court with your other schedules.

Official Form 766Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2

see CASE! TSB O8S7 Nott tiled: 05/01/19 Entered: 05/01/19 09:18:54 Page 11s
ANTAS 6:48AM

Debtor 1 Felix Carlos Perez Case number (if known)

 

 

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14. $ 7,961.67

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

 

ee se ooo te tte teste gtaee, « MOtalelaime cs
‘From: Part 4:0n Schedule E/F, copy. the following !: 9.5
9a. Domestic support obligations (Copy line 6a.) $ 0.00_
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $ 0.00_
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $ 0.00
9d. Student loans. (Copy line 6f.} § 0.00
8e. Obligations arising out of a separation agreement or divorce that you did not report as

priority claims. (Copy line 6g.) $ 0.00
$f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.} +3 0.00_
Sg. Total. Add lines 9a through 9f. $ 0.00

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 2 of 2

see Case. TSS O87" Hoey t “Fed: 05/01/19 Entered: 05/01/19 09:18:54 Page 12 OPA Psy
4979 6:484M

Debtor 1 Felix Carlos Perez
First Name Middle Name Last Name

 

Debtor 2
(Spouse, if filing} First Name Middle Name Last Name

 

United States Bankruptcy Court for the: NORTHERN DISTRICT OF CALIFORNIA

 

Case number Ol Cheek if this is an
amended filing

 

 

 

Official Form 106A/B
Schedule A/B: Property 12/15

In each category, separately list and describe items. List an asset only once. li an asset fits in more than one category, list the asset in the category where you think
it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

# Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 

 

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

1 No. Ge to Part 2.

EZ Yes. Whereis the property?

 

 

 

 

 

11 What is the property? Ghack all that apply :
1372 Woodman Court fi Single-family home Do not deduct secured claims or exemptions, Put the.
Street address, if available, or other description sett bu ailedi amount of any secured claims on Schedule Dr. :
Duplex or multi-unit buildin ¥ : ele cok
Ey uP - 9 Creditors Who Have Claims Secured by Property.
Condominium or cooperative a . aE .
a re
OO Manufactured or mobile home
Current value of the Current value of the
San Jose CA 95121-0000 0 Land entire property? portion you own?
City State ZIP Code 1 investment property $752,140.00 $752,140.00
UO Timeshare Describe the nature of your ownership interest
CO other . (such as lee simple, tenancy by the entireties, or
Who has an interest in the properly? Gheck one a life estate), if known.
EH Debicr 1 only Fee simple
Sania Clara C1 debtor 2 onty
County

Dy Debtor 1 and Debtor 2 only Check if this is community property
Oo At least one of ihe debtors and ancther (see instructions)

Other information you wish to add about this item, such as local
property identification number:

4 bedrooms, 2 baths, 1703 square feet

 

2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
pages you have attached for Part 1. Write that mumber Were... eee tccescssenseeeeseenentonstatsesanaenettstesseesessssees => $752,140.00

     

fy) Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

Official Form 106A/B Schedule A/B: Property page 1
we Case? PS-SUSS7* Date Tiled: 05/01/19 Entered: 05/01/19 09:18:54 Page 13 Gfgpe Baten,
Debtor 1 Felix Carlos Perez

 

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

 

O No

Yes

3.1 Make Volkswagon
Model; Jetta
Year: 2008

Approximate mileage:
Other information:

150000.

 

Location: 1372 Woodman
Court, San Jose CA 95121

 

Who has an interest in the property? Check one

EA Debtor 1 only

Ci Debtor 2 only

C] Debtor 1 and Debtor 2 only

At least one of the debtors and another

C1 Check if this is community property
{see instructions)

4/17/19 6ABAM

Case number (if known)

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Whe Have Claims Secured by Property.

Current value of the
portion you own?

Current vaiue of the
entire property?

$3,115.00 $3,115.00

 

 

3.2 Make: Dedge
Mode: Grand Caravan
Year: 2004 °

 

Who has an interest in the property? Check one

#2 peotor 1 oniy
Co Debtor 2 only

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the

 

 

 

 

 

Approximate mileage: 242000 C1 Bebtor 1 and Debtor 2 only entire property? portion you own?
Other information: 1 At least one of the debtors and another
Location: 1372 Woodman
Court, San Jose CA 95121 ©] Check if this is community property $6,533.00 $6,533.00
(see instructions}
4, Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories

Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

EE No

O Yes

5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
pages you have attached for Part 2. Write that number here................---ce:-esesesenscssnvenaseuvessananenuseeveueysensecssenees => $9,648.00

Eur Describe Your Personal and Household Items

 

 

 

 

 

Do you_own or have any legal or equitable interest in any of the following items?

6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware
Ci No

Ei Yes. Describe...

 

Furniture and Appliances
Location: 1372 Woodman Court, San Jose CA 95121

 

 

 

. Current value of the _
portion you own?
Do not deduct secured
claims or exemptions.

$5,000.00

 

7. Electronics

Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections: electronic devices

including cell phones, cameras, media players, games

O No
Hi Yes. Describe.....

 

Two (2) television sets

 

 

 

 

 

 

 

Location: 1372 Woodman Court, San Jose CA 95121 $500.00

Cellular phone

Location: 1372 Woodman Court, San Jose CA 95121 _ $200.00
Official Form 106A/B Schedule A/B: Property page 2

Somat CeCe TO-DOS TF Dote tT riled: 05/01/19 Entered: 05/01/19 09:18:54

Page 14 Gare Bankruptcy
479 6:48AM

Debtor 1 Felix Carlos Perez Case number (if known}

 

 

Laptop computer, printer, and tablet(s)
Location: 1372 Woodman Court, San Jose CA 95121 $500.00

 

 

 

 

8. Collectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
other collections, memorabilia, collectibles
CT] No

Ei Yes. Describe...

 

CDs, DVDs, art, pictures, posters, magazines, and figurines
Location: 1372 Woodman Court, San Jose CA 95121 «$350.00

 

 

 

 

9. Equipment for sports and hobbies

Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
musical instruments
EZ No

C1 Yes. Describe...

10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment
E® No

LJ Yes. Describe...

 

11. Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
EO No
H@ Yes. Describe.....
Clothing
Location: 1372 Woodman Court, San Jose CA 95121 $1,000.00

 

 

 

 

12. Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver

OO No
EH Yes. Describe...

 

Wedding rings and assorted jewelry
Location: 1372 Woodman Couri, San Jose CA 95121 $1,500.00

 

 

 

 

13. Non-farm animais
Examples: Dogs, cats, birds, horses
No

EF Yes. Describe...

14. Any other personal and household items you did not already list, including any health aids you did not list
Ei No

O Yes. Give specific information.....

15. Add the dollar value of all of your eniries from Part 3, including any entries for pages you have attached
for Part 3. Write that number here ., deeatvananeeneenetsoes teennenaees eninneneaeers $9,050.00

 

   

Fee Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following? . ne vos. Current value of the
ee Do ce . oe . wo portion you own?”
~.. Do not deduct secured
claims or exemptions.

 

Official Form 106A/B Schedule A/B: Property page 3
ve CBSE! POS O867 Dott tiled: 05/01/19 Entered: 05/01/19 09:18:54 Page 15 Gpyeye sakurey
41719 GASAM

Debtor 1 Felix Carlos Perez Case number (if known}

 

16. Cash
Examples: Money you have in your wallet, in your home, in a safe depesit box, and on hand when you file your petition
C1 No

Bees eee cccceecscencsseececececececercerseserevessarsesceessesanevesusesrssusanevesvenseesevaneveeveneets

Cash $100.00

 

17. Deposits of money
Exampies: Checking, savings, or other financial accounts; certificates of depesit: shares in credit unions, brokerage houses, and other similar
institutions. If you have multiple accounts with the same institution, fist each.
Ci No

BBV eS. eecceeeaeen Institution name:

Bank of America Checking Account, Acct #
17.1. Checking XXXXXX4929 $36.00

 

 

Wells Fargo Bank Checking Account, Acct #
17.2. Checking soon0x4084 $15.09

 

18. Bonds, mutual junds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts

Ei No

OV Yeo. Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership,
and joint venture

Ei No

C1 Yes. Give specific information about them.......0........
Name of entity: % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

HI No
[J Yes. Give specific information about them
Issuer name:

21. Retirement or pension accounts
Examptes: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

EE No
2 Yes. List each account separately.
Type of account: , Institution name:

22, Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
EE No

OO Yes. woes Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
Ei No
OO Yes... Issuer name and description.

24, Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.6. 88 530(b)(1), 529A(b), and 529/b)(41).

EZ No °
OO Yes... cece. Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1}, and righis or powers exercisable for your benefit
EA No

( Yes. Give specific information about them...

Official Form 106A/B Schedule A/B: Property page 4
Software Copyright (c)

ase. 19-50007" Doc# 1 Filed: 05/01/19 Entered: 05/01/19 09:18:54 Page 16 offre
4718 BASAM

Debtor 1 Felix Carlos Perez Case number (if known)

 

26. Patents, copyrights, trademarks, trade secrets, and other intelectual property
Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

i No
OC Yes. Give spacific information about them...

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

EZ No
0 Yes. Give specific information about them...

Money or property owed to you? , eo ..., . Current value of the
. : , : : portion you own?
Do not deduct secured
claims or exemptions.

28. Tax refunds owed to you
@ No
C1 Yes. Give specific information about them, inciuding whether you already filed the returns and the tax years.......

28. Family support
Exarnpies: Past due or lump sum alimony, spousal support, child support, mainienance, divorce settlement, property settlement
@ No

C Yes. Give specific information......

30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
benefits; unpaid loans you made to someone else

Ei No
C1 Yes. Give specific information.

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA): credit, homeowner's, or renter’s insurance
Ei No
[] Yes. Name the insurance company of each policy and list its value.
Company name: Beneficiary: Surrender or refund
value:

32, Any interest in property that is due you from someone who has died

If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
someone has died,

E@ No
C] Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

EB No
OC Yes. Describe each claim.........

34. Other contingent and unliquidated claims ot every nature, including counterclaims of the debtor and rights to set off claims
i No

[1] Yes. Describe each claim.........

35. Any financial assets you did not already list
Ei No

TZ Yes. Give specific information..

 

36. Add the dollar value of ail of your entries from Part 4, including any entries for pages you have attached
for Part 4, Write that mumber W@re.........c..:ccsccccesnssssasevssestecsscsesconessseasenssussnassenssansastnsutatstanusesoneesecsaccannaeneensuses $151 09°

 

 

 

 

| Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

Official Form 106A/B Schedule A/B: Property page 5
Software Copyright (c) 1996-2016 Best Case, LLC - www.b

ase. 19-508907 Doc# 1 Filed: 05/01/19 Entered: 05/01/19 09:18:54 Page 17 Gf bexurey
41749 6:48AM

Debtor? Felix Carlos Perez Case number (if known)

37. Do you own or have any legal or equitable interest in any business-related property?
EB No. Go to Part 6.

Cl Yes. Go to line 38.

 
  

| Describe Any Farm- and Commerciai Fishing-Related Property You Own or Have an Interest In.
e \f you cwn or have an interest in farmiand, list itin Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
EB No. Go to Part 7.

D ves. Go to line 47.

 

: Describe All Property You Own or Have an Interest in That You Did Net List Above

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

Ei No
C1 Yes. Give specific information.........

°4. Add the dollar value of all of your entries from Part 7. Write that number here .......s....cesceccccconeeeresens 7 $0.60

ee List the Totals of Each Part of this Form

 

 

55. Part 1: Total real estate, We 2. esssssecseesscsssnesnsnesnessesscoesoneescaescoatsnspssuussassvesesssansansneaneessaueseateateasiedereceesee $752,140.00
56. Part 2: Total vehicles, line 5 $9,648.00

57. Part 3: Total personal and household items, line 15 ___ $9,050.00

58. Part 4: Total financial assets, line 36 ss $154.09

59. Part 5: Total business-related property, line 45 $0.00

60. Part 6: Total tarm- and fishing-related property, line 52 —. $0.00

61. Part 7: Total other property not listed, line 54 + $0.00

62. Total personal property. Add lines 56 through 61... __ $18,849.09 Copy personal property total __ $18,849.09

 

83. Total of all property on Schedule A/B. Add line 55 + line 62 $770,989.09

Official Form 106A/B Schedule A/B: Property
Software Copyright (c} 1996-2016 Best Case, LLC - www.besicase.

Case: 19-50897 Doc#i Filed: 05/01/19 Entered: 05/01/19 09:18:54 Page 18 6P ar ="

page 6
 

41719 6:48AM

Debtor 4 Felix Carlos Perez
First Name Middle Name Last Name

 

Debtor 2

(Spouse if, filing} First Name Middla Name Lasi Name

 

United States Bankruptcy Court for the: © NORTHERN DISTRICT OF CALIFORNIA

 

Case number
(if known} Check if this is an
amended filing

 

 

 

Official Form 106C
Schedule C: The Property You Claim as Exempt 12/15

 

Be as complete and accurate as possible. If twa married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name
and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the fuil fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in doliar amount, However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 

E Identify the Property You Claim as Exempi

i. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you,
EA You are claiming state and federal nonbankrupicy exemptions. 11 U.S.C. § 522({b)(3}
CD You are claiming federal exemptions. 11 U.S.C. § 522(0)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line.on ©”

  

“Current value of:the..

ific laws that.allow exemption |"
“portion you own Te He ene nent ean ae

Sehedule-A/B that lists this property

 

‘Amount of the exemption you claim: ©: Spe

  

 
 
   

  
 

oy Copy the value from os

is “Check oniyone box for each ‘exemption. rhs
OS Sohedule ABE SES ee os he

 

 

 

 

 

 

 

 

 

1372 Woodman Court San Jose, CA 752,140.00 0.00 ©.C.P. § 703.140(b)(1)
95121 Santa Clara County $752,140.00 §
4 bedrooms, 2 baths, 1703 square [1 100% of fair market value, up to
feet any applicable statutory limit
Line from Schedule A/B: 1.1
2008 Volkswagon Jetta 150000 miles 15.0 3.115.069 ©-C.P. § 703.140(b}(5)
Location: 1372 Woodman Court, San __ $3,115.00 a $8115.00
Jose CA 95121 Cl 400% of fair market value, up to
Line from Schedule A/B: 3.1 any applicable statutory limit
2004 Dodge Grand Caravan 242000 $6,533.00 $5,100.00 ©-.C.P. § 703.140(b)(2)
miles eee a
Location: 1372 Woodman Court, San [1 400% of fair market value, up to
Jose CA 95121 any applicable statutory limit
Line from Schedule A/B: 3.2
2004 Dodge Grand Caravan 242000 $6,533.00 ff $1,433.00 ©.C.P. § 703.140(b)(5)
miles _ on
Location: 1372 Woodman Court, San C1 100% of fair market value, up to
dose CA 95121 any applicable statutory limit
Line from Schedule A/B: 3.2
Official Form 106C Schedule C: The Property You Claim as Exempt page 1 of2

Software Copyright (c} 1996-2016 Best Case, LLC - www.bestcase.co

Case: 19-50897 Doc# 1 Filed: 05/01/19 Entered: 05/01/19 09:18:54 Page 19 6f ar"
Debtor 1

Felix Carlos Perez

Brief-description ofthe property and line on . >

‘Current value of the
Schedule A/B that tists this.property «2...

: : “Amount of the exemption you claim...
“portion you own oo

Case number (if known}

 

 

47S 6:48AM

 

“Specific laws that allow.exemption’--:.”

  
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

~.-) Copy.the value from °°” Cheek only one box for each exemption.
phe ie Schedule AB BASES SS RES ga
Furniture and Appliances $5,000.00 $5,000.00 ©-C.P. § 703.140(b){3}
Location: 1372 Woodman Court, San *
Jose CA 95121 CO 400% of fair market value, up to
Line from Schedule A/S: 6.1 any applicable statutory limit
Two (2) television sets 500.00 $500.00 ©.C.P. § 703.140(b)(3)
Location: 1372 Woodman Court, San $ a
Jose CA $5121 [] 400% of fair market value, up to
Line from Schedule A/B: 7.1 any applicable statutory limit
Cellular phone 200.00 $200.00 ©.C.P. § 703.140(b)(5)
Location: 1372 Woodman Court, San $ a
Jose CA 95121 Cl 100% of fair market value, up to
Line from Schedule A/B: 7.2 any applicable statutory limit
Laptop computer, printer, and $500.00 gg $500.00  ©-C.P. § 703.140(b)(5)
tablet(s)
Location: 1372 Woodman Court, San FE 100% of fair market value, up to
Jose CA 95121 any applicable statutory limit
Line from Sehedule A/B: 7.3
CDs, DVDs, art, pictures, posters, $350.00 $350.00 ©-C.P. § 703.140(b)(5)
magazines, and figurines
Location: 1372 Woodman Court, San O 100% of fair market value, up to
Jose CA 95121 any applicable statutory limit
Line from Schedule A/B: 8.1
Location: 1372 Woodman Court, San $1,000. a 31,
Jose CA 95124 1] 100% of fair market value, up to
Line from Schedule A/B: 11.4 any applicable statutory limit
Wedding rings and assorted jewelry 1.500.00 1,500.00 ©-C.P. § 703.140(b)(4)
Location: 1372 Woodman Court, San $1,500. a $1,
Jose CA 95121 [100% of fair market value, up to
Line from Schedule A/B: 12.1 any applicable statutory limit
Cash C.C.P. § 703.140(b)(5)
100.00 100.00
Line from Schedule A/B: 16.1 $100.0 = $
O 400% of fair market value, up to
any applicable statutory limit
Checking: Bank of America 36.00 ©-C.P. § 703.140(b}(5)
Checking Account, Acct # $36.00 # #36
XXXXXX4929 1 100% of fair market value, up to
Line from Schedule A/B: 17.4 any applicabie statutory limit
Checking: Wells Fargo Bank 1 15.09 ©.C.P. § 703.140(b)(5)
Checking Account, Acct # $15.09 mS
XXXxXxXx4084 Oo

Line from Schedule A/B: 17.2

100% of fair market value, up to
any applicable statutory limit

 

Official Form 106C
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestease.com

Case: 19-50897 Doc#1 Filed: 05/01/19 Entered: 05/01/19 09:18:54

. Are you claiming a homestead exemption of more than $155,675?
(Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment.)

[1 Yes. Dic you acquire the property covered by the exemption within 1,215 days before you filed this case?

HE No
O No
Ol Yes

Schedule C: The Property You Claim as Exempt

page 2 of 2
Page 2 0 orgy? Bankruptcy
 
  

OSs i ee

Debtor 1

 

Felix Carios Perez

First Name Middle Name Last Name
Debtor 2
(Spouse i, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: NORTHEAN DISTRICT OF CALIFORNIA

 

Gase number
(if known)

 

4719 6:48AM

(1 Check if this is an

 

Official Form 106D
Schedule B: Creditors Who Have Claims Secured by Property

amended filing

12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if

known).

1. Do any creditors have claims secured by your property?

01 No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.

Ei Yes. Fill in all of the information below.

  

 

 

 

 

 

 

 

 

 

 

 

 

 

Gee List All Secured Claims
2. List all secured claims. if a creditor has more than one secured claim, list the creditor separately for Gofumn.A Column 8 Column C
each claim. If more than one creditor has a particular claim, list the other creditors in Part2. As much =Amount of claim Value of collateral Unsecured
as possible, list the claims in alphabetical order accerding to the creditor's name. De not deduct the that supports this portion
value of collateral. claim lf any
Deutsche Bank National
a1 Trust Company Describe the property that secures the claim: $282,674.86 $752,140.00 $282,674.86
Creditors Name 1372 Woodman Court San Jose, CA
95121 Santa Clara County
on behalf of Eranklin fe bedrooms, 2 baths, 1703 square
Management Corpora ce —
P. O. Box 2301 as of the date you file, the claim is: Check all that
Jersey City, NJ 07303 O Contingent
Number, Street, City, State & Zio Coda C1 Unliquidated
C] Disputed
Who owes the debi? Check one. Nature of lien. Check all that apply.
E@ Debtor 1 only Ean agreement you made (such as mortgage cr secured
D1 Debior 2 only car Ioan)
CO Debtor 1 and Debtor 2 oniy 0 Statutory lien (such as tax tien, mechanic's lien}
1 At least one of the debtors and another «=: Juegment lien from a lawsuit
C] Check if this claim relates to a Bl Other (including a right to offse) Second Mortgage
community debt
Date debt was incurred 10/19/2005 Last 4 digits of account number 0000
io9 |v. P. Morgan Chase
‘”_| Bank, N. A. Describe the property that secures the claim: $816,913.60 $752,140.00 $64,773.60
Creditar's Name 1372 Woodman Court San Jose, CA
95121 Santa Clara County
4 bedrooms, 2 baths, 1703 square
7255 Baymeadows Way feet —_—
Mail St op JAXB2007 a rs the date you file, the claim is: Check all that
Jacksonville, FL 32256 1 contingent
Number, Street, City, State & Zip Code C0 untiquidated
QO Disputed
Who owes the debt? Check one. Nature of lien. Check ail that apply.
#@! Debtor 1 only EB an agreement you made {such as marigage or secured
TQ Debtor 2 only car loan)
[1 Debtor + and Debtor 2 only | Statutory lien (such as tax lien, machanic’s lien}
CD Atleast one of the debtors and another «= Judgment tien from a lawsuit
Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1 of2

Software Copyright (c} 1996:

ase: 19-50807 Doc# 1 Fifed: 05/01/19 Entered: 05/01/19 09:18:54 Page 21 Grey? eam
4749 6:48AM

 

 

 

 

 

 

Debtor 1 Felix Carlos Perez Case number (if know)
First Name Middle Name Last Name
C1 Check if this claim relates to a E other (including a right tc cftset} First Deed of Trust
community debt

Date debt was incurred 10/28/2005 Last 4 digits of account number 9681

Add the dollar value of your entries in Column A on this page. Write that number here: $1,099,588.46

If this is the last page of your form, add the dollar value totals from all pages.

Write that number here: $1 099,588.46

 

 

 

 

pene List Others to Be Notified for a Debt That You Already Listed

Use this page only if you have others to be notifled about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is trying
to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more than one
creditor for any of the debts that you listed in Part 1, list the additional creditors here, If you do not have additional persons to be notified for any debts in Part 1,
deo not fill out or submit this page. : , ‘

| | Name Address
-NONE- On which line in Part 1 did you enter the creditor?

Last 4 digits of account number

 

Official Form 106D Additionat Page of Schedule D: Creditors Who Have Claims Secured by Property page 2 of 2

Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase,

ase: 19-50807 Doc# 1 Elled: 05/01/19 Entered: 05/01/19 09:18:54 Page 22 6PA%* Baw
4/17/18 6:48AM

   
     

Debtor 1 Felix Carlos Perez

 

 

First Name Midcle Name Last Name
Debtor 2
{Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: NORTRERN DISTRIGT OF CALIFORNIA

 

Case number
(if known}

 

C1 Check if this is an
amended filing

 

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Ciaims 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/S: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form #06G), Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and case
number (if known).

# List All of Your PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims against you?
EB No. Go to Part 2.
C yes.

g List All of Your NONPRIORITY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?

 

 

CI No. You have nothing to repert in this part. Submit this form to the court with your other schedules.
EB ves.

4, List all of your nonpriority unsecured claims in the alphabetical order of the creditor whe holds each claim. {f a creditor has more than one nonpriority unsecured
claim, ist the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more than one |
creditor holds a particular claim, list the other creditors in Part 3.1f you have more than three nonpriority unsecured claims fill cut the Continuation Page of Part 2. <:

 

 

 

 

 

Total claim :
44 American Express Last 4 digits of account number — 1005 $1,113.85
Nonpriority Creditor's Name
4315 South 2700 West When was the debt incurred? 10/2015
Salt Lake City, UT 84184
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
oC Contingent
El Debtor 1 only .
o G Unliquidated
Debtor 2 onl
¥ LD bisputec
LJ Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
C Ai least one of the debtors and another CO student toans
C] Check if this claim is fora community debt (C2 Obligations arising out of a separation agreement or divorce that you did nat
Is the claim subject to offset? report as priority claims
Hino CD Debts to pension or profit-sharing plans, and other similar debis
O Yes H other. Specity Credit card purchases
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 1 of 5

Pomnare COE RE PESOS F Doce tT tiled: 05/01/19 Entered: 0871/19 09:18:54 Page 23 Grr Bankunny
Debicr1 Felix Carlos Perez

ez]

SATA 6:488M

Case number (if know}

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Software C.

yright (c} 1996-

Capital One Bank USA, N. A. Last 4 digits of accountnumber 8039 $3,385.00
Nonpriority Creditor's Name
P. O. Box 30281 When was the debt incurred? 11/27/2006
Salt Lake City, UT 84130-0287
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
0 Contingent
Debtor 1 only an
4 OO unliquidated
2 onl
Debior 2 only Oo Disputed
C1 Debier 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
F' Atteast one of the debtors and another CO student loans
OO Cheek if this claim is for a community debt CI Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
EB No C1 Debts ta pension or profit-sharing plans, and other similar debis
O ves EB other. Specify Credit card purchases
43 Capital One Bank USA, N. A. Last 4 digits of accountnumber = 16.33 $297.00
Nonpriority Creditor's Name
P.O. Box 30281 When was the debt incurred? 08/18/2007
Salt Lake City, UT 84130-0281
Number Street City State Zip Code As of the date you file, the claim is: Check ali that apply
Who incurred the debt? Check one.
O Contingent
i Debtor 1 only —
Oo Oo Unliquidated
Debtor 2 onl
° ¥ O Disputed
C1 Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
C At least one of the debtors and another Cl Student loans
C1 Check if this claim is for a community debt OC Obligations arising out of a separation agreement or divorce that you did nat
Is the claim subject to offset? report as priority claims
EB No (C1 Debts to pansion or profit-sharing plans, and other similar debts
O ves Hi other. Specity Credit card purchases
4.4 First Data Merchant SVS Last 4 digits of accountnumber 0747 $864.00
Nonpriority Greditor's Name
4000 Corai Ridge Drive When was the debt incurred? 11/01/2013
Suite # C-230
Pompano Beach, FL 33065
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
C1) Contingent
EE Debtor 1 only a
o C] Unliquidated
Debtor 2 onl
ore only CO Disputed
C1 Debtor 1 and Debior 2 only Type of NONPRIORITY unsecured claim:
C1 At least one of the debtors and another C1 Student loans
C1 Check if this claim is fora community debt = [] Obligations arising out of a separation agreement or divorce that you did net
Is the claim subject to offset? report as priority claims
EE No 0 Cebts to pension or profit-sharing plans, and other similar debts
C1 Yes Hi Other. Specify Equipment Lease
Official Form 106 E/F Schedule E/F; Creditors Who Have Unsecured Claims Page 2 of 5

Ase: 19-508907" Doct tT Filed: 05/01/19 Entered: 05/01/19 09:18:54 Page 24 Gry Bamuatey
Debtor 1 Felix Carlos Perez

 

 

 

479 6:488M

Case number (if know}

 

 

 

 

 

 

 

 

 

 

 

 

 

 

45 First Premier Bank Last 4 digits of account number (606 $337.00
Nonpriority Creditcr's Name
3820 North Louise Avenue When was the debt incurred? 12/09/2010
Sioux Falis, SD 57107
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
g O Contingent
Debtor 1 onl
A y 1 uniiquidated
Ci 2 onl
@btor 2 only oO Disputed
LJ Debier 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
C1 Atleast one of the debtors and another C1 Student loans
C] Check if this claim is fora communitydebt Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? repert as priority claims
EB No 7 Debts to pansion or profit-sharing plans, and other similar debts
Ci ves El other. Specify Credit card purchases
First Premier Bank Last 4 digits of account number 2317 _ $659.00
Nenpriority Creditors Name
3820 North Louise Avenue When was the debt incurred? 08/21/2015
Sioux Falls, SD 57107
Number Street City State Zlp Cade As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
O Contingent
EB Debtor 1 only _
oO Unliquidated
C1] Debtor 2 only .
C Cisputed
C1 Debtor 1 and Debior 2 only Type of NONPRIORITY unsecured claim:
© At least one of the debtors and another OO Student loans
(Cl Check if this claim is fora community debt Cl Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims .
EZ No ET Debts to pension or profit-sharing plans, and other similar debts
O ves Ef Cther. Specify Credit card purchases
47 Merrick Bank Last 4 digits of accountnumber (0198 $1,568.00
Nonpriority Creditor's Name
P. O. Box 1500 When was the debt incurred? 12/27/2004
Draper, UT 84020
Number Street City State Zlp Code As of the date you file, the claim is: Check all that aoply
Who incurred the debt? Check one.
O Contingent
EB Debtor 1 only —
C1 unliquidated
OO Debter 2 only .
oO (7 Disputed
Bebtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
CD At least one af the debtors and another Cl Stucent ioans
[1 Check if this claim is fora community debt =] Obligations arising out of a separation agreement or divarce that you did not
Is the claim subject to offset? report as priority claims
E# No O Debits to pension or profit-sharing plans, and other similar debts
0 Yes El other. Specity Credit card purchases
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 3 of 5

smnee Case: PESB8S7" Hock tT Filed: 05/01/19 Entered: 05/01/19 09:18:54 Page 25 chipper
Debtor 1

[ss |

Felix Carlos Perez

 

 

4/17/18 6:48AM

Case number (if know}

 

 

 

 

 

SYNCE / Toys R Us Last 4 digits of account number 0937 $492.00
Nonpriority Creditors Name
P. ©. Box 965001 When was the debt incurred? 07/29/2015
Orlando, FL 32896
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
C1 Contingent
2 Dedtar 1 only a
o O Unliquidated
Debtor 2 onl
eorare only CO visputed
(1 Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
D At least one of the debtors and another CO Student loans
C1 Check if this claim is fora community debt =] Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as pricrity claims
EB No C1 Debts to pension or profit-sharing plans, and other similar debts
CO Yes I other. Specify Credit card purchases
49 TD Bank USA / Target Credit Last 4 digits of accountnumber 9349 $1,011.00
Nonpricrity Creditor's Name
NCD 0450 When was the debt incurred? 09/18/1996

P. O. Box 1470

Minneapolis, MN 55440
Number Street City State Zlp Code

Who incurred the debt? Check one.

Et Debtor 1 only

C1 Debtor 2 oniy

01 Debtor 1 and Debtor 2 only

(1 Aj least one of the debtors and another

D1 Check if this claim is for a community debt
Is the claim subject to offset?

i No
Ti Yes

 

As of the date you file, the claim is: Check ali that apply

| Contingent
D unliquidated

CO Disputed
Type of NONPRIORITY unsecured claim:
0 Student ioans

C] Obligations arising out of a separation agreement or civorce that you did net
report as priority claims

C1 Cebis to pension or profit-sharing plans, and other similar debts

E other. Specity Credit card purchases

 

 

 

f List Others to Be Notified About a Debt That You Already Listed

5. Use this page only if you have others io be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency is
trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have
more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be notified for
any debts in Parts 1 or 2, de not fill out or submit this page.

Name and Address

-NONE-

 

On which entry in Part 1 or Part 2 did you list the criginal creditor?
Line of (Check one):

Part 1: Creditors with Priority Unsecured Claims
Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

& Add the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only, 28 U.S.C. §159. Add the amounts for each type
of unsecured claim.

 

 

 

 

Total claim
6a. Domestic support obligations 6a. § 0.00
Total claims
from Part i 60. Taxes and certain other debts you owe the government 8b. $ 0.00
. 6c. Claims for death or personal injury while you were intoxicated 6c. § 0.00
6d. Other. Add all other priority unsecured claims. Write thal amounthere. 8d. 5) 0.00
6e. Total. Add lines Ga through 6d. 6e. $ 0.00
Total Claim
6f. . Student loans ot. $ 0.00
Total claims
from Part 2 6g. Obligations arising out of a separation agreement or divorce that you
cs did not report as priority claims 89. $ 0.00
6h. Debts to pension or profit-sharing plans, and other similar debts 6h. sg 6.00

Official Form 106 E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Sorware RAO OB GBS ote led: 05/01/19 Entered: 05/01/19 09:18:54

Page 4 of 5

Pag e 26 GPAF Bankruptcy
447/18 6:48AM

 

 

 

 

 

Debtor! Felix Carlos Perez Case number (if know)
Gi. Other. Add ali other nonpriority unsecured claims. Write that amount here. Bi. $ 9,726.85
6]. Total. Add lines 6f through 8i. gj. $ ___9,726.85
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 5 of 5

omen CASE? PS S6RS7* Hotere Filed: 05/01/19 Entered: 05/01/19 09:18:54 Page 27 Epps baer
44799 6:48AM

 

Debtor 3 Felix Carlos Perez

 

 

First Name Middle Name Last Name
Debior 2
(Spouse Hf, filing} First Name Middie Name Last Name

United States Bankruptcy Court for the: © NORTHERN DISTRICT OF CALIFORNIA

 

Gase number
(if known} OW Check if this is an
amended filing

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, copy the additional page, fill it out, number the eniries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?

2 No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form,
[1 Yes. Fill in all of ihe information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B}.

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for

example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
and unexpired leases.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Person. or company with whom you have the contract or lease ~ State what the coniract or lease is for ne
Name, Number, Street, City, State and ZIP Code . os
2.1
Name
Number Street
City State ZIP Code
2.2
Name
Number Street
City State ZIP Code _
2.3
Name
Number Street
City State ZIP Code
2.4
Name
Number Street
City State ZIP Code
2.5
Name
Number Street ~
City State ZlP Cade _
Official Form 106G Schedule G: Executory Contracts and Unexpired Leases Page 1 of 1

See CRS? PES OROF™ Bote T"Flled: 05/01/19 Entered: 05/01/19 09:18:54 Page 28 Gffrre Berkus
4719 6:48AM

Debtor 4 Felix Carlos Perez
First Name Middle Name Last Name

 

Debtor 2
(Spouse if, fling) First Name Middle Name Last Name

 

United States Bankruptey Court for the: NORTHERN DISTRICT OF CALIFORNIA

 

Case number
{if known) O Check if this is an
amended filing

 

 

 

Official Form 106H
Schedule H: Your Codebtors 12/15

Codebiors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supptying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known), Answer every question.

1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

Ei No
0 Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.}

0 No, Ge to line 3.
Ei Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

C] No
i Yes.

{n which community state or territory did you ve? -NONE- . Fill in the name and current address of that person.

 

Name of your spouse, former spouse, or legal equivalent
Number, Street, City, State & Zip Cade

3. In Golumn 4, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
in Jine 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
Form 7106D), Schedule E/F (Officia! Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to
fill out Column 2.

Column 1: Your codebtor Column 2: The creditor to whom you owe the debt -

Name, Number, Street, City, State and ZIP Code Check all schedules that apply: ” , . - :
3.11 CJ Schedule D, line

Name

 

OC Schedule E/F, line
CO Schedule G, line

 

 

 

 

 

Number Street
City State ZIP Code

13.2 | O Schedule D, line
Name OSchedule EF, line

DO Schedule G, line
Number Street
City State + ZIP Code
Official Form 106H Schedule H: Your Codebtors Page 1 of 1

Software Copyright (¢}

ase: 19-50807 Doc# tT "Filed: 05/01/19 Entered: 05/01/19 09:18:54 Page 29 Oftgre bam
 

A719 6:48AM

in this information to identify your case

Debtor 1 Felix Carlos Perez

 

Debtor 2
{Spouse, if filing}

 

United States Bankruptcy Court for the: NORTHERN DISTRICT OF CALIFORNIA

 

Case number Check if this is:
{if known) CO An amended filing

O A supplement showing postpetition chapter
13 income as of the following date:

 

 

 

Official Form 1 061 MM/DDIYYWY
Schedule I: Your income 42/15

Be as complete and accurate as possible. li two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
atiach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 

meee) Describe Employment

1. Fillin your employment cen
information. ‘Debtor 1°

 

 

if you have more than one job, Emol t stat E Employed Cj Employed
attach a separaie page with mployment status
information about additional CL] Not employed CI Not employed
employers. |

pioy Occupation Tax Preparer (self employed)

 

Include part-time, seasonal, or ' . :
self-employed work, Employer's name F. P. Tax Services Corporation

Occupation may include student Empioyer'saddress 2377 Senter Road
or homemaker, if it applies. Suite D

San Jose, CA 95112

 

How fong employed there? 13 years

 

 

fe Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your nan-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. if you need
more space, attach a separate sheet to this form.

 

 

List monthly gross wages, salary, and commissions (before all payroll

 

 

2. deductions). If not paid monthly, calculate what the monthly wage would be. 2 $ 7,561.67 = $ NIA
3. Estimate and list monthly overtime pay. 3. +8 0.00 8614 N/A
4, Calculate gross Income. Add line 2 + line 3. 4. |$ 7,561.67 3 N/A

 

 

 

 

 

Official Ka@A66119-50897 Doc#1 Filed: 05/01/18chedmeteverd inevatO1/19 09:18:54 Page 30 Of 47 page
Debtor1 Felix Carlos Perez Case number (if knows)

10.

11.

12.

13.

 

47419 6:48AM

 

 
   

 

Copy line 4 here 4 7,561.67 $_

 

NA

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

List all payroli deductions:
Sa. Tax, Medicare, and Social Security deductions ba. § 2,546.68 $ N/A
5b. Mandatory contributions for retirement plans 5b. § 0.06 § NIA
5c. Voluntary contributions for retirement plans 5c. $ 0.00 = $ N/A
Sd. Required repayments of retirement fund loans Sd.  §$ 0.00 «$ N/A
Se, Insurance Se. § 0.00 «$ N/A
Sf. Domestic support obligations Bf $ 0.00 6§$ N/A
5g. Union dues 5g. §$ 0.00 § NWA
5h. Other deductions. Specify: 5+ $ 0.00 + $ N/A
Add the payroll deductions. Add lines 5a+5b45¢+5d+5e45f+5g45h. 6 86§ 2,546.68 & N/A
Calculate total monthly iake-home pay. Subtract line 6 from line 4. 7. § 5,014.99 $ N/A
List all other income regularly received:
8a. Net income from rental property and from operating a business,

profession, or farm

Attach a statement for each property and business showing gross

receipts, ordinary and necessary business expenses, and the total

monthly net income. ga. $ 0.00 $ N/A
8b. Interest and dividends 8b. §$ 0.00 § N‘A
8c. Family support payments that you, a nan-filing spouse, or a dependent

regularly receive

Include alimony, spousal support, child support, maintenance, divorce

settlement, and property settiement. 8. §$ 0.00 = =6§ NA
8d. Unemployment compensation 8d. § 0.00 «6$ N/A
8e. Social Security Be. § 0.00 «§ N/A
Bf. Other government assisiance that you regularly receive

Include cash assistance and the vaiue (if known) of any non-cash assistance

that you receive, such as food stamps (benefits under the Supplemental

Nutrition Assistance Program) or housing subsidies.

Specify: Bf F 0.00 «§$ NA
8g. Pension or retirement income 8g. $ 0.00 6 § N/A
8h. Other monthly income, Specify: 8h.+ §$ 0.00 + $ N/A
Add all other income. Acid lines 8a+8b+80+8d48e+61+89+8h. 9. |$ 0.00| |$ N/A
Calculate monthly income. Add line 7 + line 9. 10. /$ 5,014.99 | + $ NWA/=|$ 5,014.99

 

Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.

 

 

 

 

 

 

State all other regular contributions to the expenses that you list in Schedule J.
Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
ather friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedute J.

Specify:

 

Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
applies

Do you expect an increase or decrease within the year after you file this form?
] No.

11.

 

 

 

+8 6.00_
$ . 5,014.99
Combined

monthly income

 

Ol Yes. Explain: [~

Official Bamse96l19-50897 Doc#1 Filed: 05/01/1Schednletevad ineimi) 1/19 09:18:54 Page 31 of 47 page2

 

 
4719 6:48AM

TRIE Cais tanselemieirolncemie iia

 

 

 

Debior 1 Felix Carlos Perez Check if this is:

Cl An amended filing
Debtor 2 _ C] A supplement showing postpetition chapter
(Spouse, if filing) , 13 expenses as of the following date:
United States Bankruptcy Court for the: NORTHERN DISTRICT OF CALIFCRNIA MM / DD /¥YYY

 

 

Case number
(if known}

 

 

Official Form 106J
Schedule J: Your Expenses 12/18

 

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible tor supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

#2 Describe Your Household
1. 1s this a joint case?
Ef No. Go te line 2.
0 Yes. Does Debtor 2 live in a separate household?

O No
CX Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 

2. Do you have dependents? [] No

 

 

 

 

 

Do not list Debtor 1 EE Yes. Fill out this information for Dependent’s relationship to Dependent’s Does dependent
and Debtor 2. each dependent... Debtor 1 or Debtor 2 age live with you?
Do not state the O1No
dependents names. Son EB Yes

CO No

Son Ei Yes

C1 No

CO Yes

CO No

[J Yes

3. Do your expenses include EENo

expenses of people other than

yourself and your dependenis? [4 Yes

 

gee) Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date uniess you are using this form as a supplement in a Chapter 13 case to repart

expenses as of a daie after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance If you know
the value of such assistance and have included it on Schedule I: Your income
(Official Form 1061.)

 

4. The rental or home ownership expenses for your residence. Include first mortgage
payments and any rent for the ground or lot. 4. $ 0.00

 

If not included in line 4:

4a. Real estate taxes 4a.

 

 

 

 

$ 0.00

4b. Property, homeowner's, or renter’s insurance 4b. §$ 100.00

4c. Home maintenance, repair, and upkeep expenses 4c. $ 0.00

4d. Homeowner's association or condominium dues 4d. $ 0.00

5. Additional mortgage payments for your residence, such as home equity loans 5. $ 0.00

Se se: 19-50897 Doc#1 Filed: osyO1tee * EatEee8B/01/19 09:18:54 Page 32 of 47 ase?
4719 6:48AM

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor1 Felix Carlos Perez Case number {if known)
6. Utilities:

6a. Electricity, heat, natural gas 6a. § 126.00

6b. Water, sewer, garbage collection 6b. $ 115.00

6c. Telephone, cell phone, Internet, satellite, and cabie services 6c. $ 326.00

6d. Other. Specify: 6d. § 0.00
7. Food and housekeeping supplies 7. $ 700.00
8. Childcare and children’s education costs 8. § 0.00
9. Clothing, laundry, and dry cleaning 9. § 25.00
16. Personal care products and services 10. $ 75.00
11. Medical and dental expenses 1t. $ 0.00
#2. Transportation. Include gas, maintenance, bus or train fare.

Do not include car payments 12. $ 40.00
13. Entertainment, clubs, recreation, newspapers, magazines, and books 3. §$ 100.00
14. Charitable contributions and religious donations 14. § 0.00
15. Insurance.

Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance iba. $ 0.00

4#5b. Health insurance 15b. $ 0.00

15ce. Vehicle insurance ie. $ 120.00

15d. Other insurance. Specify: 15d. $ 0.00
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.

Specify: 16. $ 0.00
17. Installment or lease paymenis:

17a. Car payments for Vehicle 1 17a. $ 0.00

17b. Car paymenis for Vehicle 2 17b. $ 0.00

17c. Other. Specify: __ 17e. $ 0.00

17d. Other. Specify: 17d. § 0.00
18. Your payments of alimony, maintenance, and support that you did not repert as

deducted from your pay on line 5, Schedule i, Your Income (Official Form 1061). 18. $ 0.00
19, Other payments you make to support others who do not live with you. $ 0.00

Specify: 19.
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your income.

20a. Mortgages on other property 20a. $ 0.00

20b. Real estate taxes 20b. $ 0.00

20c. Property, homeowner's, or renter’s insurance 20c. $ 0.00

20d. Maintenance, repair, and upkeep expenses 20d. $ 0.00

20e, Homeowner's association or condominium dues 20e, $ 0.00
21. Other: Specify: 21. +$ 0.00
22. Calculate your monthly expenses

22a. Add lines 4 through 21. $ 1,727.00

22h. Copy line 22 (monthly expenses for Debtor 2}, if any, from Official Form 106J-2 $

22c, Add line 22a and 22b. The result is your monthly expenses. $ 1,727.00
23. Calculate your monthly net income.

23a. Copy line 12 (your combined monthly income) from Schedule |. 23a. $ 5,014.99

23b. Copy your monthly expenses from line 22c above. 23b. -$ 1,727.00

23c. Subtract your monthly expenses fram your monthly income.

The result is your monthiy net income. , 23. | $ 3,287.99 |

 

 

24, Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect io finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
modification ic the terms of your mortgage?

EB No.

 

O Yes. | Explain here:

ome ase: 19-50897 Doci# 1 Filed: OSPR * EMEEPBE5/01/19 09:18:54 Page 33 of 47 Pave?
479 6:48AM

Luca cua

     

 

Debtor 1 Felix Carlos Perez

First Name Middle Name Last Name
Debtor 2
(Spouse [f, filing) First Name Middie Name Last Name

 

United States Bankruptcy Court forthe: NORTHERN DISTRICT OF CALIFORNIA

 

Case number
(if known}

 

[] Check if this is an
amended filing

 

Official Form 106Dec
Declaration About an Individual Debtor's Schedules 12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or

obtaining money or property by fraud in connection with a bankruptcy ease can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

 

 

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

E] No

Hm Yes. Nameofperson Martha L. Barrera-Chavez Attach Bankruptcy Petition Preparer’s Notice,

Declaration, and Signature (Official Form 119}

 

    
 

Under penalty of perjury, | declare thafi have redd the summary and schedules filed with this declaration and

that they. arg-troe-grid correety

    
 

 

 

 

 

Felix Carlos Perez “ “ Signature of Debtor 2
Signature of Debtor 1
Date April 17, 2019 Date

Official Form 106Dec Declaration About an Individual Debtor's Schedules

Software Copyright (c} 1996-2016 Best Case, LLC - www.bestcase.cam Best Case Bankruptey

Case: 19-50897 Doc#1 Filed: 05/01/19 Entered: 05/01/19 09:18:54 Page 34 of 47
4719 6:48AM

Debtor 1 Felix Carlos Perez
First Name Middle Name Last Name

 

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court forthe: NORTHERN DISTRICT OF CALIFORNIA

 

Case number
(if known) [1 Check if this is an
amended filing

 

 

 

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the iop of any additional pages, write your name and case
number (if known), Answer every question.

 

fe] Give Details About Your Marital Status and Where You Lived Before

 

1. Whatis your current marital status?

C) Married
EA Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

i No

[] Yes. List all of the places you lived in the fast 3 years. Do not inciude where you live now.

Debtor-1 Prior Address: es Daies Debtor 1 Debtor 2 Prior Address: .. “Dates Debtor 2 -.
uo o lived there “s livedthere =

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? {Community property
siates and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

[CL] No
Ei Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

f Explain the Sources of Your Income

 

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
lf you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

CO No
EH Yes. Fill in the details.

    

 

Debtor doe es Debtera os oe a eee cea
Sources ofincome Gross income ' Sources of income: Gross income.
Check all that apply. 2. {before deductions. and Check all that apply. (before deductions
oo exclusions} a ce and exclusions) .-
From January 1 of current year until 8 Wages, commissions, $55,970.00 [© Wages, commissions,
the date you filed for bankruptcy: bonuses, tips bonuses, tips
CO Operating a business Co Operating a business
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 1

ee CARE? TSS ORS 7" Bote ty Filed: 05/01/19 Entered: 05/01/19 09:18:54 Page 35 Gfisipe sens
Debtor1 Felix Carlos Perez

For last calendar year:
(January 1 to December 31, 2018 }

Debtor'1 oe

Sources of income
Check all that apply.

E& Wages, commissions,
bonuses, tips

[t Operating a business

Gross income
(before deductions and
exclusions)

$83,955.00

Case number (if known)

4n719 6:48AM

 

Debtor.2°. oy

Sources of income...”

Check all that appiy.

co Wages, commissions,
bonuses, tips

C1 Operating a business

Gross income
(before deductions .
and exclusions)

 

For the calendar year before that:
(January 1 to December 31, 2017 )

5. Did you receive any other income during this year or the two previous calendar years?

ll Wages, commissions,
bonuses, tips

C Operating a business

$83,955.00

C] Wages, commissions,
bonuses, tips

(1 Operating a business

Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately. Do not include income that you listed in fine 4.

# No
CO Yes. Fill in the details.

 

“Debtor.1.0 00 ee
Sources of income
Describe below..

Gross income —
(before deductions and
exclusions)

@ List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

[] No.

individual primarily for a personal, family, or household purpose.”

Debtor:2 ones

Sources ofincome .

Describe below,

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,225* or more?

CI No.
O Yes

Go to line 7.
List below each creditor to whom you paid a total of $6,225* or more in ane or more payments and the total amount you

Gross income.
(before deductions .
and exclusions)

Neither Debtor 1 nor Debtor 2 has primarily consumer debis. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an

paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment.

E Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

EZ No.
T] Yes

Go to fine 7.

List below each creditor to wham you paid a total of $600 or more and the total amount you paid that creditor. Do not

include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to
an attorney for this bankruptcy case.

Creditor's Name and Address

Dates of payment

Total amount
paid

Amount you

still owe

Was this payment for... ~

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent,
including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child

support and alimony.

No

Ol Yes. List all payments to an insider

Insider's Name and Address

Official Form 107

Dates of payment

Total amount
paid

Amount you

still owe

Statement of Financial Affairs for individuals Filing for Bankruptcy

Reason for this payment

page 2

sree Case: TO-SO88T™ Dott Aled: 05/01/19 Entered: 05/01/19 09:18:54 Page 36 GP Aep aakurey
4719 6:48AM

Debtor1 Felix Carlos Perez Case number (i known)

 

8. Within 1 year before you filed for bankruptey, did you make any payments or transfer any property on account of a debt that benefited an
insider?
Include payments on debts guaranteed or cosigned by an insider.
EH No
O1 Yes. List all payments to an insider
Insider's Name and Address we Dates of payment Total amount Amount you Reason for this payment .
oe paid stiliiowe — Include creditor's name

 

fee identify Legal Actions, Repossessions, and Foreclosures

 

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List ali such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
modifications, and contract disputes.
H No
Ol Yes. Fill in the details.
Case title — Nature of the case Court or agency Status of the case
Case number ,
10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check ali that apply and fill in the details below.
Hi No
Yes. Fill in the information below.
Creditor Name and Address Describe the Property os Date .. “Value of the
: ee Ce a ste woo... property
Explain what happened , , Oe :
11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debi?
Hi No
Yes. Fill in the details.
Creditor Name and Address Describe the action the creditor took. Daie action was “os 3 Amount
oe vee ee ba taken cent
12, Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
court-appointed receiver, a custodian, or another official?
No
O Yes

 

chee List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
EZ No

CO Yes, Fill in the details for each gift.

Gifts with @ total value of more than $600 -  Deseribe the gifts .

Dates you gave ce” Malue
per person the atts ee Sev. *

Person to. Whom You Gave the Gift and |
Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity
EH No

Ol Yes. Fill in the details for each gift or contribution.

Gifts or contributions to charities thai total. - Bescribe what you contributed | Dates you o Q “Value
more than $600 : ee poet {o> gentributed ©; or
Charity's Name - me : mo, oe Lo ey

Address (Number, Street, City, State and ZIP Cede}

 

fe List Certain Losses

15, Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy

page 3
Software Capyright (c} 1996-2016 Bes gy

ase: 19- "Bock 1 Filed: 05/01/19 Entered: 05/01/19 09:18:54 Page 37 Bree
47/19 6:48AM

Debtor1 Felix Carlos Perez Case number (it known)

disaster, or gambling?

EB No
CO) Yas. Fill in the details.
Describe the property you lost and Describe any insurance coverage for the loss _ Date of your Value of property
how the loss. occurred Include the amount that.insurance has paid. List.” loss: er lost
, pending insurance claims on line 33 of Schedule A/B: : °. : " :
Property.

Yee List Certain Payments or Transfers

 

. Within 1 year before you filed for bankruptey, did you or anyone else acting on your behalf pay or transfer any property to anyone you
consulted about seeking bankruptcy or preparing a bankruptcy petition?

Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

H No

1] Yes. Fill in the details.

Person Who Was Paid. . Description and value.of any property: - Date payment — “os. Amount of:
Address. | . transferred / / or transfer was.- “payment
Email or website address made wy

Person Who Made the Payment, if Not You

17.

Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or te make payments to your creditors?

Do not include any payment or transfer that you listed on line 16.

EB No

Cl Yes. Fill in the details.

Person Who Was. Paid - St Description and value of any property oe Daie payment 20 - Amount of
Address Lt rr transferred, or transfer was . ci ovp payment
oO made ee Se

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property

transferred in the ordinary course of your business or financial affairs?

Include beth outright transfers and transfers made as security (such as the granting of a security interest-or mortgage on your property). Do not
include gifts and transfers that you have already listed on this statement.

He No

Ol Yes. Fill in the details.

Person Who Received Transfer : Bescription.and value of Describe any property or Date transfer was
Address _

property transferred =. payments received or debts. made :

re paid in-exchange -
Person’ 's relationship to you

19. Within 10 years befere you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
beneficiary? (These are often called asset-protection devices.}
Hi No
Ol Yes. Fill in the details.
Name of trust Description and value of the property transferred Dale Transfer was,
made

 

i List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units
20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
sold, moved, or transferred?

Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
houses, pension funds, cooperatives, associations, and other financial institutions.

Ei No
C Yes. Fill in the details.

Name of Financial Institution and ~ .. Last 4 digits of: Type of account or Date account was. _ Last balance

Address (Number, Street, Gity, State and ZIP - agcount number. — instrument... ss closed, sold, - | ~ before closing or

Code) Sone moved, or: iacs ss Uransfer
transferred ,

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy

page 4
Sottware Copyright (c) 19

ase: 19-50897 Doc# 1 Filed: 05/01/19 Entered: 05/01/19 09:18:54 Page 38 dayener™
479 6:48AM

Debtor! Felix Carios Perez Case number (i known)

 

 

21. De you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit bax or other depository for securities,
cash, or other valuables?

FE No

(1 Yes. Fill in the details.

Name of Financial Institution Who else had access to it? Describe the contents ...'.. = Do youstill .
Address (Number, Street, City, State and ZIP Cade) Address (Number, Street, City, , : - ee have it? ©

State and ZIP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy

Ei No
O Yes. Fill in the details.
Name of Storage Facility Who else has or had access Describe the contents — Do you still
Address (Number, Street, City, State and ZIP Code) 7) tot? oo a have it?
: . Address (Number, Street, City, : a
State and ZIP Code}

 

#2 Identify Property You Hold or Control for Someone Else

23. Deo you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
for someone.

Ei No

(Yes. Fill in the details.

Owner's Name Where is the property? Describe the property <2: 9: _ Value.
Address (Number, Street, City, State and ZIP Gade) (Number, Street, City, State and ZIP beats DO pnp

Code}

false Give Details About Environmental Information

 

For the purpose of Part 10, the following definitions apply:

Environmental law means any federal, state, or local statute or requlation concerning pollution, contamination, releases of hazardous or

toxic substances, wasies, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
regulations contralling the cleanup of these substances, wastes, or material.

Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
to own, operate, or utilize it, including disposal sites.

Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
hazardous material, poliutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.
24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

@ No
1 Yes. Fill in the details.

Name ofsite SS ’ Governmental unit Environmental taw, | if you o Date of notice -
Address (Number, Street, City, State and ZIP Gode} Address (Number, Street, City, State and know it: . nels
ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

EE No
Ts Yes. Fill in the details.
Name ofsite = =. Governmental unit Environmental faw, it you. Date of notice.
Address (Number, Street, City, State and ZIP Code} Address (Number, Street, City, State and know it : . oS . wea
ZIP Cade)
Official Form 197 Statement of Financial Affairs for Individuals Filing for Bankruptey page 5

Software Copyright (c) 1996-2016 Bast Case, LLC - cnet

ase: 19-50897 Doc# 1 Filed: 05/01/19 Entered: 05/01/19 09:18:54 Page 39 dParrewrr
401719 GaBAM

Debtor1 Felix Carlos Perez Case number (if known)

 

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include setilements and orders,

8

BE No a
Ci Yes. Fill in the detaiis.
Case Title Court or agency Nature of the case
Case -‘Number Name
Address (Number, Street, Cliy,
State and ZIP Goce)

 

 

fae Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankeuptey, did you own 2 business or have any of the following connections to any business?
CQ Asole prapristor or seli-employed in a trade, profession, or other activity, either full-time or parttime

Cl A member of a limited liability company (LLC) or limited liability partnership (LLP)
C1 A partner in a partnership
i An officer, director, or managing execulive of a corporation

C7 An owner of at least 5% of the voting or equity securities of a corporation
Ci No. None of the above applies. Go to Part 12.

  

Describe ihe nature of the business Employer-Ide:

  

 

oF, Stet, Cly, State and ZIP Geode) Name of accountant or bookkeeper . fy

Oe to . Dates business exis

F. P. Tax Services Corporation Tax Preparation; Accounting EIN: 2P-A 282403
2377 Senter Road

Suite D From-To 1/2005 - present
San Jose, CA 95112

28. Within 2 years before you filed for bankruptcy, did you give a financia! statement to anyone abeut your business? Include all financial
institutions, creditors, or other parties.
= Ne
Ol Yes. Fill in the details below.

Name. Date issued

     

  
 

ini ; Sitdet, City, State and ZIP Cate)

eee eae

 

torn Below

I have read the answers on this Statement of
with a bankruptcy case can result in fines
IRAE C. 881682, 134 vy 3571. |

Felix Carlos Perez
Signature of Debter i

Financial Affairs and any attachments, and | declare under penalty of perjury that the answers

alse statement, concealing property, or obtaining money ar property by fraud in connection
9/9250,000, or imprisonment fer up io 26 years, or both.

   
 

  
 

Signature of Debtor 2

Date April 17, 2019 _ Bate

 

Did you attach additional pages io Your Statement of Financial Affairs for individuals Filing for Bankruptey (Oficial Form 107}?
Hi No

CD Yes

ae you pay or agree to pay someone whe is not an attorney to heip you fill out bankruptcy forms?
No

EB Yes. Name of Person FELIX @. FR RL2.

Form 119) =__ Attach the Bankruptey Petition Preparer's Notice, Declaration, and Signature (Official
‘orm 118).

Official Farm 107 Statement of Financial Affairs for individuals Filing for Bankruptcy

page 6
Software Copyright (ce) 1996-2016 Best Case, LLC - waw.bestease.com

B e Bankruy
Case: 19-50897 Doc#1 Filed: 05/01/19 Entered: 05/01/19 09:18:54 Page 40 OPAPP Bary
Notice Required by 11 U.S.C. § 342(b) for
individuals Filing for Bankruptcy (Form 2010)

 

This notice is for you if:

You are an individual filing for bankruptcy,
and

Your debts are primarily consumer debis.
Consumer debts are defined in 11 U.S.C.

§ 101(8) as “incurred by an individual
primarily for a personal, family, or

household purpose.”

 

4719 6:48AM

 

Chapter 7: Liquidation

 

 

 

The types of bankruptcy that are available to
individuals

Individuals who meet the qualifications may file under
one of four different chapters of Bankruptcy Code:

Chapter 7 - Liquidation
Chapter 11 - Reorganization

Chapter 12 - Voluntary repayment plan
for family farmers or
fishermen

Chapter 13 - Voluntary repayment plan
for individuals with regular
income

You should have an attorney review your
decision te file for bankruptcy and the choice of
chapter.

Notice Required by 11 U.S.C. § 342(b) for individuals Filing for Bankruptcy (Form 2010)

Software Copyright (c}

$245 filing fee
$75 administrative fee
+ $15 trustee surcharge

$335 total fee

Chapter 7 is for individuals who have financial

difficulty preventing them from paying their debts

and who are willing to allow their nonexempt
property to be used to pay their creditors. The
primary purpose of filing under chapter 7 is to have
your debts discharged. The bankruptcy discharge
relieves you after bankruptcy from having to pay
many of your pre-bankruptcy debts. Exceptions exist
for particular debts, and liens on property may still
be enforced after discharge. For example, a creditor
may have the right to foreclose a home mortgage or
repossess an automobile.

However, if the court finds that you have committed
certain kinds of improper conduct described in the
Bankruptcy Code, the court may deny your
discharge.

You shouid know that even if you file chapter 7 and
you receive a discharge, some debts are not
discharged under the law. Therefore, you may still
be responsible to pay:

most taxes;

most student loans;

domestic support and property settlement
obligations;

page 1

Ase: 19-50807 Doc# t Filed: 05/01/19 Entered: 05/01/19 09:18:54 Page 41 dfyre eam
. most fines, penalties, forfeitures, and criminal
restitution obligations; and

certain debis that are not listed in your bankruptcy
papers.

You may also be required to pay debts arising from:
fraud or theft;

fraud or defaication while acting in breach of
fiduciary capacity;

intentional injuries that you inflicted; and

death or personal injury caused by operating a
motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs.

If your debts are primarily consumer debts, the court
can dismiss your chapter 7 case if it finds that you have
enough income to repay creditors a certain amount.
You must file Chapter 7 Statement of Your Current
Monthly income (Official Form 122A~1) if you are an
individual filing for bankruptcy under chapter 7. This
form will determine your current monthly income and
compare whether your income is more than the median
income that applies in your state.

If your income is not above the median for your state,
you will not have to complete the other chapter 7 form,
the Chapter 7 Means Test Calculation (Official Form
1224-2).

If your income is above the median for your state, you
must file a second form —the Chapter 7 Means Test
Calculation (Official Form 122A-2). The calculations on
the form— sometimes called the Means Test—deduct
from your income living expenses and payments on
certain debts to determine any amount available to pay
unsecured creditors. If

Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)

Software Copyright (c} 1998-2016 Best Gase, LLC - www.bestease

4/17/19 6:48AM

your income is more than the median income for your
state of residence and family size, depending on the
results of the Means Test, the U.S. trustee, bankruptcy
administrator, or creditors can file a motion to dismiss
your case under § 707(b) of the Bankruptcy Code. If a
motion is filed, the court will decide if your case should
be dismissed. To avoid dismissai, you may choose to
proceed under another chapter of the Bankruptcy
Code.

if you are an individual filing for chapter 7 bankruptcy,
the trustee may sell your property to pay your debts,
subject to your right to exempt the property or a portion
of the proceeds from the sale of the property. The
property, and ihe proceeds from property that your
bankruptcy trustee sells or liquidates that you are
entitled to, is called exempt property. Exemptions may
enabie you to ksep your home, a car, clothing, and
household items or to receive some of the proceeds if
the property is sold.

Exemptions are not automatic. To exempt property, you
must list it on Schedule C: The Property You Claim as
Exempt (Official Form 106C}. If you do not list the
property, the trustee may sell it and pay all of the
proceeds to your creditors.

 

Chapter 11: Reorganization

 

$1,167 filing fee

+ $550 _ administrative fee
$1,717 total fee
Chapter 11 is often used for reorganizing a business,

but is also available to individuals. The provisions of
chapter 11 are too complicated to summarize briefly.

page 2

ase: 19-50897 Doc# 1 Filed: 05/01/19 Entered: 05/01/19 09:18:54 Page 42 6far'r
4719 6:48AM

 

Because bankruptcy can have serious long-term financiai and legal consequences, inciuding loss of
your property, you should hire an attorney and carefully consider ali of your options before you file. Only
an attorney can give you legal advice about what can happen as a result of filing for bankruptcy and
what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms properly
and protect you, your family, your home, and your possessions.

Although the law allows you to represent yourself in bankruptcy couri, you should understand that many
people find it difficult to represent themselves successfully. The rules are technical, and a mistake or
inaction may harm you. If you file without an attorney, you are still responsible for knowing and

following all of the legal requirements.

You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the

necessary documents.

Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

 

 

 

Chapier 12: Repayment plan for family
farmers or fishermen

 

$200 _ filing fee
+ $75 administrative fee
$275 total fee

Similar to chapter 13, chapter 12 permits family farmers
and fishermen to repay their debts over a period of time
using future earnings and to discharge some debts that
are not paid.

 

Chapter 13: Repayment plan for
individuals with regular
income

 

$235 _ filing fee
+ $75 administrative fee
$310  iotal fee

Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in

installments over a period of time and to discharge some

debts that are not paid. You are eligible for chapter 13
only if your debts are not more than certain dollar
amounts set forth in 11 U.S.C. § 109.

Notice Required by 11 U.S.C. § 342(b} for Individuals Filing for Bankruptey (Form 2010)

Software Copyright (c) 1996

Under chapter 13, you must file with the court a plan to
repay your creditors all or part of the money that you
owe them, usually using your future earnings. If the
court approves your plan, the court will allow you to
repay your debts, as adjusted by the plan, within 3
years or 5 years, depending on your income and other
factors.

After you make all the payments under your plan,
many of your debts are discharged. The debts that are
not discharged and that you may still be responsible to
pay include:

domestic support obligations,

most student loans,

certain taxes,

debts for fraud or theft,

debts for fraud or defalcation while acting in a
fiduciary capacity,

mest criminal fines and restitution obligations,

certain debts that are not listed in your
bankruptcy papers,

certain debts for acts that caused death or
personal injury, and

certain long-term secured debts.

page 3

Case 19-5080? Doc# Tt Elled: 05/01/19 Entered: 05/01/19 09:18:54 Page 43 cfr? Bn
 

 

 

 

 

 

Bankruptcy crimes have serious consequences

lf you Knowingly and fraudulently conceal assets
or make a false oath or statement under penalty of
perjury—either orally or in writing—in connection
with a bankruptcy case, you may be fined,
imprisoned, or both.

All information you supply in connection with a
bankruptcy case is subject to examination by the
Attorney General acting through the Office of the
U.S. Trustee, the Office of the U.S. Attorney, and
other offices and employees of the U.S.
Department of Justice.

Make sure the court has your mailing address

The bankruptcy court sends notices to the mailing
address you list on Voluntary Petition for Individuals
Filing for Bankruptcy (Official Form 101). To ensure
that you receive information about your case,
Bankruptcy Rule 4002 requires that you notify the court
of any changes in your address.

Notice Required by 11 U.S.C. § 342(b} for Individuals Filing for Bankruptcy (Form 2010}
Sofiware Cae {c} 1996-2016 Best Case, LLC - www.best

4179 6:43AM

A married couple may file a bankruptcy case
together—called a joint case. If you file a joint case and
each spouse lists the same mailing address on the
bankruptcy petition, the bankruptcy court generally will
mail you and your spouse one copy of each notice,
unless you file a statement with the court asking that
each spouse receive separate copies.

Understand which services you could receive from
credit counseling agencies

The law generally requires that you receive a credit
counseling briefing from an approved credit counseling
agency. 11 U.S.C. § 109(h). If you are filing a joint case,
both spouses must receive the briefing. With limited
exceptions, you must receive it within the 180 days
before you file your bankruptcy petition. This briefing is
usually conducted by telephone or on the Internet.

In addition, after filing a bankruptcy case, you generally
must complete a financial management instructional
course before you can receive a discharge. If you are
filing a joint case, both spouses must complete the
course.

You can obtain the list of agencies approved to provide
both the briefing and the instructional course from:
hitp://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html.

in Alabama and North Carolina, go to:
htto:/Avww.uscourts.gov/FederalCourts/Bankruptcy/
BankrupicyResources/ApprovedCredit

AndDebiCounselors.aspx.
If you do not have access to a computer, the clerk of

the bankruptcy court may be able to help you obtain the
list.

page 4

ase: 19-50897  Doc#1 Filed: 05/01/19 Entered: 05/01/19 09:18:54 Page 44 647
41719 6:48AM

Uo

Debtor 1 Felix Carlos Perez
First Name Middie Name Last Name

Debtor 2
{Spouse, if filing) First Name Middie Name Last Name

 

United States Bankrupicy Court for the: NORTHERN DISTRICT OF CALIFORNIA

 

 

Case number Chapter 13
(if known)

 

Official Form 119

Bankruptcy Petition Preparer's Notice, Declaration, and Signature 12/45
Bankruptcy petition preparers as defined in 17 U.S.C. § 110 must fill out this form every iime they help prepare documents that are filed in the
case. lf more than one bankruptcy petition preparer helps with ihe documents, each must sign in Part 3. A bankruptey petition preparer who

does not comply with the provisions of title 11 of the United States Code and the Federal Rules of Bankruptcy Procedure may be fined,
Imprisoned, or both 11 U.S.C. § 110; 18 U.S.C. § 156.

7 : Notice to Debtor

 

 

Bankruptcy petition preparers must give the debtor a copy of this form and have the debtor sign it before they prepare any documents for
filing or accept any compensation. A signed copy of this form must be filed with any document prepared,

Bankruptcy petition preparers are not atiorneys and may not practice law or give you legal advice, including the following:

* — whether to file a petition under the Bankruptcy Code (11 U.S.C. § 101 et seq.};

° — whether filing a case under chapter 7, 11, 12, or 13 is appropriate:

® — whether your debts will be eliminated or discharged in a case under the Bankruptcy Code;

¢ — whether you will be able to retain your home, car, or other property after commencing a case under the Bankruptcy Code:
e what tax consequences may arise because a case is filed under the Bankruptcy Code;

® whether any tax claims may be discharged;

* whether you may or should promise to repay debts to a credifor or enter into a reaffirmation agreement;

* how to characterize the nature of your interests in property or your debts; or

* what procedures and rights apply in a bankruptcy case.

The bankrupicy petition sroperes 10.\ (CAND? \ So has notified me of any maximum allowable fee before preparing any

 

 

 

docum Hing or aggepting-emy fee.
ALK [CREE = Date April 17, 2019
Signature of Debtor 1 acknowledging receipt of this notice MM/DD /YYYY
Official Form 119 Bankruptcy Petition Preparer's Notice, Declaration, and Signature page 1

Software Copyright (c) 1996-2016 Best Case, LLC - www, bestcase.com

Case: 19-50897 Doc#1 Filed: 05/01/19 Entered: 05/01/19 09:18:54 Page 48" 8fzarirty
S78 6:48AM

B2800 (Fon 2800} (12/15)
United States Bankruptcy Court
Northern District of California
Inre _ Felix Carlos Perez . Case No.

 

 

Debtor(s) Chapter 13

DISCLOSURE OF COMPENSATION OF BANKRUPTCY PETITION PREPARER
[Must be filed with the petition if a bankruptcy petition preparer prepares the petition. 11 U.S.C. §110(h)(2).]

1, Under 11 U.S.C. § 110(h), I declare under penalty of perjury that I am not an attorney or employee of an attorney, that I
prepared or caused to be prepared one or more documents for filing by the above-named debtor(s) in connection with this
bankruptcy case, and that compensation paid to me within one year before the filing of the bankruptcy petition, or agreed to

be paid to me, for services rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
is as follows:

 

 

For document preparation servicesI have agreedto accept. ss (“a tséSH

Prior to the filing of this statement I have received $

Balance Due $
2. ihave prepared or caused to be prepared the following documents (itemize):

Chapter 13 petition and Chapter 13 plan

and provided the following services (itemize):
Go over with the Client

3. The source of the compensation paid to me was:
Debtor [[] Other (specify):

A, The source of compensation to be paid to me is:
Debtor {] Other (specify):

 

 

 

5. The foregoing is a complete statement of any agreement or arrangement for payment to me for preparation of the petition filed
by the debtor(s) in this bankruptcy case.
6. To my knowledge no other person has prepared for compensation a document for filing in connection with this bankruptcy
: case except as listed below:
_—_ {By fo SECURITY NUMBER
hi. (© YEU oo LL Apitl 17, 2019
Signature Social Security number of bankruptcy Date
petition preparer*
Oy Cols ex 2 CA ISIU
Wn Covias Woe Towbar Cones Son ynse CAST
Printed-name and title, if any, of Address . '

 

Bankruptcy Petition Preparer

*If the bankruptcy petition preparer is not an individual, state the Social Security number of the officer, principal, responsible person
or partner of the bankruptcy petition preparer. (Required by 11 U.S.C. § 110.)

A bankruptcy petition preparer's failure to comply with the provisions of title LI and the Federal Rules of Bankruptcy Procedure may
result in fines or imprisonment or both, 11 U.S.C. § 110; 18 U.S.C. § 156,

Software Copyright (c} 1996-2016 Best Case, LLG - www.hes

Case: 19-50897 Doc# 1 Filed: 05/01/19 Entered: 05/01/19 09:18:54 Page 46 CPsfise Banenuptey
S719 6:48AM

Debtor 1 Felix Carlos Perez Case number (if known)

 

  

Declaration and Signature of the Bankruptcy Petition Preparer

Under penalty of perjury, i declare that:

| am a bankruptcy petition preparer or the officer, principal, responsible person, or partner of a bankruptcy petition preparer;

| or my firm prepared the documents listed below and gave the debtor a capy of them and the Notice fo Debtor by Bankrupicy Petition
Preparer as required by 11 U.S.C. §§ 110(b}, 110(h), and 342(b); and

if rules or guidelines are established according to 11 U.S.C. § 110(h) setting a maximum fee for services that bankruptey petition

preparers may charge, | or my firm notified the debtor of the maximum amount before preparing any document for filing or before
accepting any fee from the de

tL is CON DS Veue? Fini name, fi applies
PZT LOMA Cope AOE AD $430
impor Sweat iy Siw a ZPCod8 SOAK VOSO_ | CAAT | I cma

1 or my firm prepared the documents checked below and the completed declaration is made a part of each document that | check:
(Check aif that apply.)

Voluntary Petition (Farm 101) f@] Schedule | (Form 106) [] Chapter 41 Statement of Your Current Monthly
al Fo eye Your Social Security Numbers gt Schedule J (Form 106) income (Form 1228)
‘orm 121

lf} Declaration About an Individual Debtor's Schedules hi iphapter 13 Statement o Of Cotrent Monthly
l¥] Your Assets and Liabilities and Certain Statistical (Farm 106ec} {Form 1220-1)
Information (Form 106Sum)

Fl Schedule a/8 (Form 1084/8) {WI Statement of Financial Aftairs (Form 107} [_] Chapter 12 Calculation of Your Dlsposable Income

("] Statement of intention for Individuals Filing Under (Form 1220-2)
(wl Schedule C (Form 106C) Chapter 7 (Form 108) i] Application to Pay Filing Fee in Installments (Form
Ivf] Schedule D (Form 108D) [_] Chapter 7 Statement of Your Current Monthly 103A)
al Schedule E/F (Form 106E/F} a Income (Form 1224-1) | eehcaae , Have Chapter 7 Filing Fee Waived
Statement of Exemption from Presumption of Abuse orm
hf] Schedule G (Form 106G
wi under § 707(b)(2) (Form 122A-iSupp) iif] A list of names and addresses of all creditors
Schedule H (Form 106H) [_} Chapter 7 Means Test Calculation (Form 1224-2) (creditor or mailing matrix}

LI Other

 

Bankruptcy petition preparers must sign and give their Sacial Security numbers. If mare than one bankruptcy petition preparer prepared the decumenis
to which this declaration applies, the signature and Social Security number of each preparer must be provided. 11 U.S.C. § 110.

 

xxcexx: 6S dw. Date April 17, 2019
Signature of bankruptcy petition preparer or officer, principal, Social Security number of person who signed MM/DDAYYYY
NN v or vy ¢ \ OY " “

 
 

Printed name.

   
 

Date April 17, 2019

Signature of bankruptcy petition preparer or officer, principai, Social Security number of person who signed MMADDAYYYY

responsible person, or partner

 

Printed name

Official Form 149 Bankruptcy Petition Preparer's Notice, Declaration, and Signature

page 2
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestease.

Case: 19-50897 Doc#1. Filed: 05/01/19 Entered: 05/01/19 09:18:54 Page 47 GFtBsre Sarkuntey
